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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION


SPEECH FIRST, INC.,
                            Plaintiff,


v.                                       Case No. 1:18-cv-1078-LY


GREGORY L. FENVES,
                           Defendant.




 PLAINTIFF’S REPLY IN SUPPORT OF ITS ALTERNATIVE MOTION TO STRIKE
   DEFENDANT’S OBJECTIONS TO THE DECLARATION OF NICOLE NEILY
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        It makes no difference whether the Court strikes or overrules the University’s so-called

“objections” to the Neily declaration. The University does not dispute that Speech First’s arguments

are at least a reason to overrule the objections. Thus, the University’s procedural arguments for why the

objections cannot be stricken are irrelevant, as the University seems to acknowledge. See Doc. 27 at 2

(urging the Court to simply “rule on [its] objections instead of participating in [a] groundless

procedural distraction”).

        In case it matters, the Court could also strike the University’s objections. Courts have the

inherent authority to strike documents, regardless of the confines of Rule 12(f). See EEOC v. MVM,

Inc., 2018 WL 1882715, at *5 (D. Md. 2018) (“Although Rule 12(f) does not address motions to strike

matter containing in court filings other than pleadings, ‘the Court does have inherent authority to

strike other documents.’”); Taylor v. JP Morgan Chase Bank, N.A., 2018 WL 5777497, at *3 (E.D. Tenn.

2018) (same); In re NASDAQ Mkt.-Makers Antitrust Litig., 164 F.R.D. 346, 349 (S.D.N.Y. 1996) (same).

And the conference requirement of Local Rule CV-7(i) does not apply to Speech First’s filing—a

response brief that merely asks the Court, in the alternative, to invoke its inherent authority to strike an

improper document. Cf. EEOC v. Outback Steak House of Fla., Inc., 520 F. Supp. 2d 1250, 1260 (D.

Colo. 2007). If anyone violated Local Rule CV-7(i), it was the University when it filed its objections

without first conferring with Speech First. The University’s objections were a “nondispositive motion”

under the Local Rules, which is why the University attached a proposed order to them. See Doc. 22-

1; L.R. CV-7(g), (i). Regardless, once the University filed its objections, it was obvious that any

conference over whether they should be stricken was “futile.” Robinson v. La Dock Co., 2000 WL

1059860, at *3 (E.D. La. 2000); Yue v. Storage Tech. Corp., 2008 WL 4185835, at *7 (N.D. Cal. 2008).

        Finally, it is telling that the University does not even respond to Speech First’s arguments

against the objections to the Neily declaration. Speech First made several well-developed, thoroughly-

cited arguments for why the University’s objections are procedurally improper at this stage, are not



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relevant to any question in dispute, and identify no violation of the federal rules. See Doc. 26. While

the University brazenly asserts that Speech First’s arguments “warrant[] no reply,” Doc. 27 at 1, the

Court should treat this chest-thumping for what it is: an admission that the University has no reply.

The Court should overrule or strike the University’s objections to the Neily declaration.

                                                      Respectfully submitted,

  Dated: February 18, 2019                             /s/ Cameron T. Norris tn

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                                 CERTIFICATE OF SERVICE
      I certify that on February 18, 2019, I electronically filed this brief with the Clerk of Court using

the CM/ECF system.


                                                       /s/ Cameron T. Norris tn




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